                           Case 8:20-bk-06687-CPM                          Doc 22          Filed 12/11/20              Page 1 of 5
                                                              United States Bankruptcy Court
                                                                Middle District of Florida
In re:                                                                                                                 Case No. 20-06687-CPM
Joseph Bruce Harris                                                                                                    Chapter 7
Judith Isolyn Laverne Allen-Harris
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 113A-8                                                  User: rscanlon                                                              Page 1 of 3
Date Rcvd: Dec 09, 2020                                               Form ID: B318                                                             Total Noticed: 47
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 11, 2020:
Recip ID                 Recipient Name and Address
db/jdb                 + Joseph Bruce Harris, Judith Isolyn Laverne Allen-Harris, 13593 Paddington Way, Spring Hill, FL 34609-6331
sp                     + Scott Florin, Florin Legal P.A., 6936 W. Linebaugh Ave., Suite 101, Tampa, FL 33625-5829
29149308               + Altiva financial incorporated, 1000 Parkwood circle, suite 600, Atlanta, GA 30339-2173
29254246               + Bank of America, N.A., P O Box 982284, El Paso, TX 79998-2284
29149319               + First Nataional Bank/Legacy, Attn: Bankruptcy, Po Box 5097, Sioux Falls, SD 57117-5097
29149320               + Florida Cancer Specialists, PO Box 919527, Orlando, FL 32891-0001
29149321               + Flynn LaVrar, Esq., 1133 S. University Drive, 2nd Floor, Fort Lauderdale, FL 33324-3303
29149323               + Hernando Coounty Court, 20 N. Main St., 362, Brooksville, FL 34601-2893
29149325               + Lakeview Loan Servicing LLC, PO Box 8068, Virginia Beach, VA 23450-8068
29276549               + Midland Credit Management, Inc., PO Box 2037, Warren, MI 48090-2037
29149327               + Midland Fund, Attn: Bankruptcy, 350 Camino De La Reine Ste 100, San Diego, CA 92108-3007
29149331               + Penn Credit, P.O. Box 988, Harrisburg, PA 17108-0988
29149332                 Response, 380 S 670 W, Lindon, UT 84042
29149333                 Sallie Mae, c/o Sallie Mae Guarantee Ser, P.O. Box 6180, Indianapolis, IN 46206-6180
29149334               + The Bureaus Inc, Attn: Bankruptcy, 650 Dundee Rd, Ste 370, Northbrook, IL 60062-2757

TOTAL: 15

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QAESPOSITO.COM
                                                                                        Dec 10 2020 03:13:00      Angela Welch, 12191 W. Linebaugh Ave. #401,
                                                                                                                  Tampa, FL 33626-1732
cr                     + EDI: GMACFS.COM
                                                                                        Dec 10 2020 03:13:00      Ally Capital, P.O. Box 130424, Roseville, MN
                                                                                                                  55113-0004
29149324                   EDI: HNDA.COM
                                                                                        Dec 10 2020 03:13:00      Honda Financial Services, P.O. Box 166469,
                                                                                                                  Irving, TX 75016
29149307               + EDI: ATTWIREBK.COM
                                                                                        Dec 10 2020 03:13:00      AT&T, c/o Business Bankruptcy, PO Box 769,
                                                                                                                  Arlington, TX 76004-0769
29149305               + EDI: GMACFS.COM
                                                                                        Dec 10 2020 03:13:00      Ally Financial, Attn: Bankruptcy, Po Box 380901,
                                                                                                                  Bloomington, MN 55438-0901
29149306                   EDI: AQUAFINANCE.COM
                                                                                        Dec 10 2020 03:13:00      Aqua Finance Inc, P.O. Box 3256, Milwaukee, WI
                                                                                                                  53201-3256
29149309               + EDI: BANKAMER.COM
                                                                                        Dec 10 2020 03:13:00      Bank of America, 4909 Savarese Circle,
                                                                                                                  Fl1-908-01-50, Tampa, FL 33634-2413
29149310               + EDI: TSYS2.COM
                                                                                        Dec 10 2020 03:13:00      Barclays Bank Delaware, Attn: Bankruptcy, Po
                                                                                                                  Box 8801, Wilmington, DE 19899-8801
29149311               + EDI: CAPITALONE.COM
                                                                                        Dec 10 2020 03:13:00      Capital One, Attn: Bankruptcy, Po Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
29255916                   EDI: CAPITALONE.COM
                                                                                        Dec 10 2020 03:13:00      Capital One Bank (USA), N.A., by American
                                                                                                                  InfoSource as agent, PO Box 71083, Charlotte, NC
                                                                                                                  28272-1083
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29287984           EDI: CITICORP.COM
                                                                        Dec 10 2020 03:13:00   Citibank, N.A., 5800 S Corporate Pl, Sioux Falls,
                                                                                               SD 57108-5027
29149313        + EDI: CITICORP.COM
                                                                        Dec 10 2020 03:13:00   Citibank/Best Buy, Citicorp Credit
                                                                                               Srvs/Centralized Bk dept, Po Box 790034, St
                                                                                               Louis, MO 63179-0034
29149314        + EDI: WFNNB.COM
                                                                        Dec 10 2020 03:13:00   Comenity Bank/Talbots, Attn: Bankruptcy, Po Box
                                                                                               182125, Columbus, OH 43218-2125
29149315        + Email/Text: bankruptcy@connexuscu.org
                                                                        Dec 09 2020 22:41:00   Connexus CU, Attn: Bankruptcy, Po Box 8026,
                                                                                               Wausau, WI 54402-8026
29149316        + Email/PDF: creditonebknotifications@resurgent.com
                                                                        Dec 09 2020 22:57:23   Credit One Bank, Attn: Bankruptcy Department,
                                                                                               Po Box 98873, Las Vegas, NV 89193-8873
29149317           EDI: CITICORP.COM
                                                                        Dec 10 2020 03:13:00   Deptartment Store National Bank/Macy's, Attn:
                                                                                               Bankruptcy, 9111 Duke Boulevard, Mason, OH
                                                                                               45040
29287983           EDI: Q3G.COM
                                                                        Dec 10 2020 03:13:00   Department Stores National Bank, c/o Quantum3
                                                                                               Group LLC, PO Box 657, Kirkland, WA
                                                                                               98083-0657
29149318        + Email/Text: bknotice@ercbpo.com
                                                                        Dec 09 2020 22:40:00   Enhanced Recovery Corp, Attn: Bankruptcy, 8014
                                                                                               Bayberry Road, Jacksonville, FL 32256-7412
29149322        + EDI: PHINGENESIS
                                                                        Dec 10 2020 03:18:00   Genesis Bc/Celtic Bank, Attn: Bankruptcy, Po Box
                                                                                               4477, Beaverton, OR 97076-4401
29166746           Email/Text: tc@hernandocounty.us
                                                                        Dec 09 2020 22:39:00   Hernando County Tax Collector, 20 N Main ST
                                                                                               Room 112, Brooksville FL 34601-2892
29149312           EDI: JPMORGANCHASE
                                                                        Dec 10 2020 03:13:00   Chase Card Services, Attn: Bankruptcy, Po Box
                                                                                               15298, Wilmington, DE 19850
29242562           Email/PDF: resurgentbknotifications@resurgent.com
                                                                        Dec 09 2020 22:57:25   LVNV Funding, LLC, Resurgent Capital Services,
                                                                                               PO Box 10587, Greenville, SC 29603-0587
29149326           EDI: WFNNB.COM
                                                                        Dec 10 2020 03:13:00   Lane Bryant Retail, P.O. Box 659728, San
                                                                                               Antonio, TX 78265-9728
29149328        + EDI: NAVIENTFKASMSERV.COM
                                                                        Dec 10 2020 03:13:00   Navient, Attn: Bankruptcy, Po Box 9640,
                                                                                               Wiles-Barr, PA 18773-9640
29149329        + EDI: HFC.COM
                                                                        Dec 10 2020 03:13:00   Neiman Marcus, P.O. Box 5235, Carol Stream, IL
                                                                                               60197-5235
29149330        + Email/Text: bnc@nordstrom.com
                                                                        Dec 09 2020 22:39:25   Nordstrom FSB, Attn: Bankruptcy, Po Box 6555,
                                                                                               Englewood, CO 80155-6555
29281057        + Email/PDF: resurgentbknotifications@resurgent.com
                                                                        Dec 09 2020 22:57:25   PYOD, LLC, Resurgent Capital Services, PO Box
                                                                                               19008, Greenville, SC 29602-9008
29241652           EDI: Q3G.COM
                                                                        Dec 10 2020 03:13:00   Quantum3 Group LLC as agent for, Aqua Finance,
                                                                                               PO Box 788, Kirkland, WA 98083-0788
29249831           EDI: Q3G.COM
                                                                        Dec 10 2020 03:13:00   Quantum3 Group LLC as agent for, GPCC I LLC,
                                                                                               PO Box 788, Kirkland, WA 98083-0788
29236854           EDI: NAVIENTFKASMSERV.COM
                                                                        Dec 10 2020 03:13:00   SLM BANK, C/O Navient Solutions, LLC., PO
                                                                                               BOX 9640, Wilkes-Barre, PA 18773-9640
29157028           EDI: BL-TOYOTA.COM
                                                                        Dec 10 2020 03:13:00   Toyota Motor Credit Corporation, c/o Becket and
                                                                                               Lee LLP, PO Box 3001, Malvern PA 19355-0701
29149335        + EDI: VERIZONCOMB.COM
                                                                        Dec 10 2020 03:13:00   Verizon, Verizon Wireless Bk Admin, 500
                                                                                               Technology Dr Ste 550, Weldon Springs, MO
                                                                                               63304-2225

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                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
cr                              Lakeview Loan Servicing, LLC
cr                *             Toyota Motor Credit Corporation, c/o Becket and Lee LLP, PO Box 3001, Malvern, PA 19355-0701

TOTAL: 1 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 11, 2020                                           Signature:            /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 9, 2020 at the address(es) listed
below:
Name                               Email Address
Angela Welch
                                   welchtrustee@gmail.com aesposito@ecf.axosfs.com

Becket & Lee, LLP (SB)
                                   on behalf of Creditor Toyota Motor Credit Corporation notices@becket-lee.com

C Ryan Violette
                                   on behalf of Joint Debtor Judith Isolyn Laverne Allen-Harris c.violette@hotmail.com c.violette@hotmail.com

C Ryan Violette
                                   on behalf of Debtor Joseph Bruce Harris c.violette@hotmail.com c.violette@hotmail.com

Scott C. Florin, Attorney for Trustee
                                    on behalf of Spec. Counsel Scott Florin sflorin@florinlegal.com

Scott C. Florin, Attorney for Trustee
                                    on behalf of Trustee Angela Welch sflorin@florinlegal.com

Stefan Noah Beuge
                                   on behalf of Creditor Lakeview Loan Servicing LLC FLMD.bankruptcy@phelanhallinan.com,
                                   Stefan.Beuge@phelanhallinan.com

United States Trustee - TPA7/13
                                   USTPRegion21.TP.ECF@USDOJ.GOV


TOTAL: 8
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Information to identify the case:
Debtor 1              Joseph Bruce Harris                                            Social Security number or ITIN     xxx−xx−6850
                      First Name   Middle Name   Last Name                           EIN    _ _−_ _ _ _ _ _ _
Debtor 2              Judith Isolyn Laverne Allen−Harris                             Social Security number or ITIN     xxx−xx−2520
(Spouse, if filing)
                      First Name   Middle Name   Last Name                           EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Middle District of Florida

Case number: 8:20−bk−06687−CPM


Order of Discharge                                                                                                                 12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Joseph Bruce Harris                                              Judith Isolyn Laverne Allen−Harris




                                                             ____________________________________________
           Dated: December 9, 2020                           Catherine Peek McEwen
                                                             United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case, and it does                  This order does not prevent debtors from paying any debt
not determine how much money, if any, the trustee will pay                  voluntarily or from paying reaffirmed debts according to the
creditors.                                                                  reaffirmation agreement. 11 U.S.C. § 524(c), (f).

Creditors cannot collect discharged debts
This order means that no one may make any attempt to                        Most debts are discharged
collect a discharged debt from the debtors personally. For                  Most debts are covered by the discharge, but not all.
example, creditors cannot sue, garnish wages, assert a                      Generally, a discharge removes the debtors' personal
deficiency, or otherwise try to collect from the debtors                    liability for debts owed before the debtors' bankruptcy case
personally on discharged debts. Creditors cannot contact                    was filed.
the debtors by mail, phone, or otherwise in any attempt to
collect the debt personally. Creditors who violate this order               Also, if this case began under a different chapter of the
can be required to pay debtors damages and attorney's                       Bankruptcy Code and was later converted to chapter 7,
fees.                                                                       debts owed before the conversion are discharged.
However, a creditor with a lien may enforce a claim against                 In a case involving community property: Special rules
the debtors' property subject to that lien unless the lien was              protect certain community property owned by the debtor's
avoided or eliminated. For example, a creditor may have                     spouse, even if that spouse did not file a bankruptcy case.
the right to foreclose a home mortgage or repossess an
automobile.

                                                                                           For more information, see page 2 >




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Some debts are not discharged                              Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:             agreement are not discharged.

     ♦ debts that are domestic support                     In addition, this discharge does not stop
       obligations;                                        creditors from collecting from anyone else who is
                                                           also liable on the debt, such as an insurance
                                                           company or a person who cosigned or
     ♦ debts for most student loans;                       guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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